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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF NEW YORK


AMIT PATEL,

     Plaintiff,
                                                         Civil Action No.: ________--_________
v.

FAN DUEL, INC.; FLUTTER                                                 COMPLAINT
ENTERTAINMENT, PLC; FOX
CORPORATION; BOYD GAMING CORP.;
XYZ CORPS. 1-10; JANE AND JOHN DOES
1-10,

     Defendants.




         Plaintiff Amit Patel (“Plaintiff”), by way of a Complaint by and through his attorney Litt

Law, LLC against the defendants Fan Duel, Inc., Flutter Entertainment, PLC, Fox Corporation,

Boyd Gaming Corp., XYZ Corps. 1-10, and Jane and John Does 1-10 (Collectively

“Defendants”) does hereby state:

                                        INTRODUCTION

         Plaintiff gambled over $20 Million dollars with the Defendants on daily fantasy sports

(“DFS”) between late 2019 and early 2023. The Plaintiff was at all times relevant an addicted

gambler, and was known by the Defendants to be an addicted gambler through, and among other

things, the data it actively collected and monitored on his massive deposits, amounts bet, and

frequency of bets. Defendants preyed on Plaintiff by using its information about his addiction to

target him for enticements including well over a million dollars in FanDuel credits and lavish

gifts to ensure that he deposit money and gamble in amounts and frequencies that only an addict

could ever gamble.
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        Part of Defendants’ predatory gambling practice was intentionally ignoring its own

responsible gaming protocol, and knowing and/or taking intentional steps to avoid knowing that

the money gambled by Plaintiff was stolen or otherwise not from a legitimate source. Defendants

circumvented its own Know Your Customer (KYC), anti-money laundering (AML), and

customer due diligence (CDD) standards and requirements -- again to ensure that Plaintiff

continue depositing and gambling in massive amounts and frequencies.

        To be clear, this suit does not allege liability on the basis that Defendants passively

permitted an addicted gambler to use its platform. Rather, this suit alleges violation of statutory

and common law because Defendants actively and intentionally targeted and preyed on Plaintiff

with incentives, credits, and gifts to create, nurture, expedite, and/or exacerbate his addiction

with the only possible outcome that he would ultimately hit rock bottom.



                                          THE PARTIES

1.      At all relevant times, the Plaintiff was an individual residing in the State of Florida, City

of Jacksonville, suffering from gambling addiction disorder.

2.      Plaintiff is presently a resident of the State of South Carolina, Town of Salters.

3.      Plaintiff is presently incarcerated at the Williamsburg Federal Correctional Institution

Satellite Camp for a term of six and a half years as the result of the transactions underlying this

litigation.

4.      At all times relevant, Plaintiff was an employee of the Jacksonville Jaguars, a member of

the National Football League.

5.      At all times relevant, Plaintiff was a well-respected and well-liked employee of the

Jacksonville Jaguars.
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6.     At all times relevant, the Defendant FanDuel was an Official Sports Betting Partner of

the National Football League.

7.     As an Official Sports Betting Partner of the National Football League, Defendant

FanDuel agreed to adhere to the National Football League’s core integrity policies, and agreed to

collaborate with the National Football League on intelligence sharing, advocacy efforts, and

responsible gaming education.

8.     Upon information and belief, Defendants knew that the Plaintiff was employed by the

Jacksonville Jaguars.

9.     Plaintiff was designated by Defendants for its VIP status in or about 2021, and assigned

VIP host Brett Krause (“Krause”).

10.    Plaintiff and Krause often communicated as much as 100 times every day between late

2021 and early 2023.

11.    On several occasions, Defendants contacted Plaintiff through Krause on a day he was not

gambling to find out why he was not gambling.

12.    On several occasions, Defendants contacted Plaintiff through Krause to offer him free

DFS contest entries if he placed the maximum 150 entries into a single DFS contest.

13.    Communications from Defendants, through Krause, to Plaintiff frequently began first

thing in the morning, and continued throughout the day until late at night.

14.    Krause accompanied the Plaintiff on more than one trip sponsored by the Defendants;

Krause’s girlfriend even joined Krause and Plaintiff on one of these trips.

15.    Defendants manipulated Plaintiff for the purpose of, and among other things, helping

Defendants fill its most expensive DFS contests.
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16.     At all times relevant to this Complaint, Plaintiff engaged in DFS activity with Defendants

while within the borders of the State of Florida.

17.     The Defendant FanDuel, Inc. is a foreign gambling company incorporated in Delaware in

2015 that offers sportsbook, DFS, horse racing, and online casino gambling in multiple states

across the United States, with its headquarters located at 300 Park Avenue South, 14th Floor, in

the City and State of New York.

18.     At all relevant times to this Complaint, FanDuel, Inc.’s products/services in Florida were

limited to DFS.

19.     FanDuel, Inc. is and was at all relevant times one of the United States’ largest providers

of DFS and sports betting.

20.     Upon information and belief, FanDuel generated $3.23 Billion dollars in gambling

revenue in 2022, and $4.4 billion in gambling revenue in 2023.

21.     Flutter Entertainment, PLC is a publicly traded company which owns, in whole or in part,

several gambling companies including, but not limited to, FanDuel, Inc., with its headquarters

located in the City of Dublin, Country of Ireland, and domestic headquarters located at 300 Park

Avenue South in the City and State of New York.

22.     Upon information and belief, Flutter Entertainment, PLC generated $11.7 Billion dollars

in gambling revenue in 2023.

23.     Fox Corporation is a publicly traded company, and is the partial owner of FanDuel, Inc.,

with its headquarters located at 1211 Avenue of the Americas, in the City and State of New

York.

24.     Boyd Gaming is a publicly traded gambling company, and is the partial owner of

FanDuel, Inc., with its headquarters located in Las Vegas, Nevada.
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25.    John Does 1-10 and Mary Does 1-10 are individuals whose identities are presently

unknown to Plaintiff responsible for all or part of the acts and omissions complained of herein.

26.    XYZ Corporations 1-10 are entities whose identities are presently unknown to Plaintiff

responsible for all or part of the acts and omissions complained of herein.

27.    Brett Krause (“Krause”) was a VIP Account Manager employed by the Defendants,

responsible for retaining and maximizing the profitability of Defendants’ VIP online gaming and

gambling customers.

                                  JURISDICTION AND VENUE

28.    The District Court has original jurisdiction over the instant civil matter pursuant to 28

U.S.C. § 1332 (a)(1) and (2) because the matter in controversy exceeds the sum or value of

$75,000 exclusive of interest and costs, and is between citizens of different States and citizens of

a State and subject of a foreign state.

29.    Venue in the Southern District of New York is appropriate pursuant to 28 U.S.C. §

1391(b)(2) and (3) because a substantial part of the events and omissions giving rise to the

claims occurred at the headquarters of Defendant FanDuel, Inc., located in the City and State of

New York, and because Defendant FanDuel, Inc. is subject to the court’s personal jurisdiction.

30.    Venue in the Southern District of New York is further appropriate pursuant to 28 U.S.C.

§ 1391(d) because the contacts of FanDuel, Inc. are sufficient to subject it to personal

jurisdiction if the Southern District of New York were a separate state.



                                 GAMBLING ADDICTION DISORDER

31.    At all times relevant to this Complaint the Plaintiff was, and exhibited fundamental

symptoms of being addicted to gambling.
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32.    These symptoms included, but were not necessarily limited to, the massive amount of

money deposited and wagered by Plaintiff on Defendants’ DFS contests, massive frequency of

wagers placed by Plaintiff on Defendants’ DFS contests, exponential growth in money wagered

and DFS contests entered with Defendants, Plaintiff’s demonstrated preoccupation with

gambling on Defendants’ DFS contests, Plaintiff’s gambling with increasing amounts of money

on the Defendants’ DFS contests to chase his losses, binge gambling on Defendants’ DFS

contests, Plaintiff’s cancellation of his own withdrawals on the Defendants’ site, the massive

amount of time spent on the Defendants’ site.

33.    Plaintiff was diagnosed with severe gambling disorder by the Florida Recovery Center in

or about April 2023, and has not placed a bet since March 21, 2023.

34.    Gambling addiction, also referred to as problem gambling, is classified by both the

American Psychiatric Association’s Diagnostic and Statistical Manual of Mental Disorders and

World Health Organization’s International Classification of Diseases as an addiction disorder

alongside alcohol and drug addictions.

35.    At all times relevant to this Complaint, the Defendants were trained in the recognition of

the nature and symptoms of problem gambling behavior.

36.    At all times relevant to this Complaint, the Defendants knew, whether by training and/or

practice, the nature and symptoms of problem gambling behavior.

37.    At all times relevant to this Complaint the Defendants knew, whether by training and/or

practice, that between 70% – 80% of addicted gamblers will commit a felony to obtain money

with which to gamble.

38.    Defendants’ involvement in Plaintiff’s gambling addiction was not passive.
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39.       Defendants knew Plaintiff was an addicted gambler because from approximately late

2019 through early 2023, they engaged with him through email, telephone, and text message on

an almost daily basis.

40.       The communication between Defendants and Plaintiff was done primarily through the

Defendants’ VIP host, Brett Krause (“Krause”).

41.       Upon information and belief, Defendants knew, through Krause, that the Plaintiff worked

for a National Football League team and was not permitted to gamble on the National Football

League.

42.       Defendants exploited Plaintiff’s problem gambling disorder to his detriment and for its

own benefit by ceaselessly enticing Plaintiff to deposit and gamble massive amounts of money.



                                           ENTICEMENTS

43.       Defendants’ enticements to Plaintiff to gamble included relentless financial incentives,

lavish trips, event tickets, and other gifts.

44.       Such enticement from the Defendants included approximately $1,107,883 in FanDuel

credit.

45.       Such enticement from the Defendants included a system whereby Amit was incentivized

by Defendants to continue reaching deposits of at least $600,000 to attain a FanDuel credit of

$60,000.

46.       The $60,000 in FanDuel credit was delivered by Defendants through a series of three

payments of $25,000, $25,000, and $10,000 to avoid the suspicions of Defendants’ own

compliance personnel.
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47.      This incentivization mechanism was created by the Defendants specifically for the

Plaintiff.

48.      Such enticement from the Defendants included, but was not limited to, an all-expense

reimbursed trip to a Formula One Grand Prix event in Miami.

49.      Such enticement from the Defendants included, but was not limited to, an all-expense

reimbursed trip, plus a lavish suite, to the National Collegiate Athletic Association’s football

National Championship game in January 2023.

50.      Such enticement from the Defendants included, but was not limited to, a lavish all-

expense paid trip to the Masters Tournament in 2021 and 2022.

51.      Such enticement from the Defendants included, but was not limited to, the offer of an all-

expense paid trip to the National Football League’s Super Bowl.

52.      Such enticement from the Defendants included, but was not limited to, smaller gifts such

as a customized basketball jersey with the Plaintiff’s FanDuel username on the nameplate.

52a.     Such trips and gifts were intended by Defendants to entice Plaintiff to continue to gamble

and at greater and amounts and frequencies by creating the illusion that Plaintiff was a successful

gambler.

53.      Plaintiff ultimately gambled over $20 Million with Defendants from late 2019 and early

2023, as his gambling addiction disorder was exploited by Defendants and grew progressively

worse.

54.      The Defendants’ relentless enticements of the Plaintiff to gamble when they knew he

suffered from gambling addiction and/or exhibited the signs of a problem gambler was an

unconscionable act or practice and/or unfair or deceptive act or practice in violation of the

Florida Deceptive and Unfair Trade Practices Act.
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55.    The Defendants’ conduct in targeting a person known by them to be an addicted gambler

for relentless enticements to gamble in greater amounts and frequency was intentional, reckless,

and outrageous.

56.    Contrary to living a luxurious lifestyle, Plaintiff’s addiction caused him constant agony in

the years between 2019 and 2023.

57.    The Plaintiff’s judgment was severely affected by his gambling addiction when he began

using his employer’s credit card to deposit funds with which to gamble.



                         DEFENDANTS’ COMPLIANCE PROGRAM

58.    The Defendants knew, and/or took intentional steps to avoid knowing that the money

gambled by Plaintiff was stolen or otherwise not from a legitimate source.

59.    The Defendants are a “financial institution” as that term is defined by the federal Bank

Secrecy Act (BSA).

60.    As a “financial institution,” Defendants are required to file Currency Transaction Reports

for all transactions over $10,000.

61.    Plaintiff made over 1,000 transactions with Defendants in excess of $10,000.

62.    As a “financial institution,” Defendants are required to comply with federal Know Your

Customer (KYC), anti-money laundering (AML), and customer due-diligence (CDD) guidelines

and rules.

63.    To fulfill its obligations as a “financial institution,” Defendants were at all times relevant

to the Complaint required to have a program in place to: a) identify and verify the identity of its

customers, b) understand the nature and purpose of customer relationships and develop risk

profiles, and c) continuously monitor to identify and report suspicious transactions (“Program”).
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64.     At all times relevant to this Complaint, Defendants did, in fact, have a Program in place.

65.     In or about early 2023, the Defendants’ identified one or more of the Plaintiff’s

transactions as suspicious.

66.     As a result of the identification set forth in the immediately preceding paragraph,

Defendants told Plaintiff through Krause that he would have to verify the source of funds being

deposited with its site for gambling.

67.     More specifically, the Plaintiff’s VIP host informed Plaintiff that Defendants’ AML

department required a verification of his source of funds.

68.     Days later, and without Plaintiff providing verification of any kind, Defendants informed

Plaintiff that “Defendants got around it” and “you owe me big time” or words to that effect, and

that Defendants were no longer requesting verification.

69.     The Defendants ignored the transaction(s) they identified as suspicious to keep Plaintiff,

who they knew to be an addicted gambler, depositing and gambling on its site in massive

amounts and frequency.

70.     Defendants set deposit limits for consumers as part of the Program, above which

verification of a gambler’s source of funds is required.

71.     DraftKings, for example, imposed and enforced a $30,000 per month deposit limit on the

Plaintiff.

72.     Plaintiff exceeded the deposit limits referenced in the immediately preceding paragraph,

without ever verifying his source of funds.

73.     Upon information and belief, Defendants knew, or at least suspected and took steps to

intentionally ignore, that the Plaintiff was using a corporate credit card to make frequent massive

deposits with Defendants.
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74.     Defendants received deposits from Plaintiff in amounts which could only have come

from a corporate credit card.

75.     As part of the Program, Defendants are not permitted to refund deposits or partial

deposits onto the same credit card from which the deposits originated unless the player is net-

positive.

76.     Krause acknowledged to Plaintiff on numerous occasions that Defendants were “breaking

AML by giving refunds back to the credit card” or words to that effect.

77.     In violation of the Program, Defendants continually refunded deposits or partial deposits

onto the same credit card from which Plaintiff’s deposits originated.

78.     Such refunds occurred nearly 300 times, with each refund in the amount of $25,000 for a

total of approximately $6,750,000.

79.     Defendants knowingly and intentionally circumvented KYC, AML, CDD, and its own

Program’s requirements and guidelines to keep Plaintiff gambling on its site, despite knowing

that Plaintiff was an addicted gambler and that he was using money that was stolen or otherwise

not from a legitimate source.

                                DEFENDANTS’ DFS BUSINESS

80.     DFS is an online game where gamblers choose a team of real-life athletes and compete

against other gamblers in a single day contest to see which team of real-life athletes produces the

best results.

81.     Upon information and belief, Defendants keep 6% of all money wagered on DFS.

82.     Typically, up to thousands of gamblers will compete against each other in a single DFS

contest.
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83.    However, most of the money gambled and lost by the Plaintiff was gambled and lost on

3-person DFS contests with entry fees between $10,600 and $530,000.

84.    Entry into 3-person DFS contests above $26,200 were specially arranged for Plaintiff by

the Defendants through its VIP host, and not readily available to the public.

85.    Defendants arranged 100s of such custom DFS contests for the Plaintiff.

86.    In order to find two other gamblers to play with Plaintiff in these 3-person DFS contests,

Defendants permitted and/or ignored suspected collusion between the other two players.

87.    Plaintiff told Defendants that the other two players were colluding.

88.    Defendants acknowledged, through Krause, that the other two players’ behavior was

suspicious, but claimed there was nothing they could do.

89.    Plaintiff’s entry into contests which he knew and told Defendants he believed to be

colluded was another sign known to Defendants that Plaintiff was an addicted gambler.

90.    Krause disclosed to Plaintiff that Defendants’ DFS business was waning.

91.    Defendants knowingly and intentionally permitted collusion to keep Amit gambling on

its site, because Defendants knew that Plaintiff was an addicted gambler and wanted to keep him

gambling on its site in greater amounts and frequency.



        FUNDAMENTAL AND VISIBLE SYMPTOMS OF PROBLEM GAMBLING

92.    Beginning in or about late 2019, Plaintiff began using stolen money to gamble on DFS

contests on the Defendants’ online gaming platform.

93.    Plaintiff deposited more than $20,000,000 of stolen money on the Defendants’ online

gaming platform.

94.    The stolen money was deposited through approximately 1,077 deposits.
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95.    Each of the 1,077 deposits were in the amount of $25,000.

96.    There were several days on which the Plaintiff made as many as 10 separate deposits of

$25,000 each.

97.     Plaintiff repaid hundreds of thousands of dollars per month back into the account from

which the money was stolen.

98.    Defendants’ Program recognized the deposits as suspicious, but intentionally disregarded

these suspicions to ensure that the Plaintiff, whom they knew to be an addicted gambler,

continue depositing and gambling in high amounts and frequencies.

99.    Defendants at all times relevant maintained and monitored precise records and data about

Plaintiff and other patrons’ gambling patterns and behavior. Defendants maintain analytic tools,

software, and player tracking data for VIP gamblers such as Plaintiff for the purpose of

maximizing the deposits elicited from such customers.

100.   At all times relevant to this Complaint, Defendants recognized the nature and symptoms

of problem gambling behavior generally, through training and/or practice.

101.   At all times relevant to this Complaint, Defendants recognized that Plaintiff specifically

displayed the hallmark symptoms of a problem gambler.

102.   The amount of money Plaintiff gambled with the Defendants between late 2019 and early

2023 was a fundamental and visible symptom of problem gambling.

103.   At all times relevant, Defendants knew how much money the Plaintiff was depositing and

gambling.

104.   Defendants recognized that the amount of money Plaintiff gambled with Defendants

between late 2019 and early 2023 as fundamental symptom of problem gambling.
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105.   Defendants did, in fact, recognize that the amount of money Plaintiff gambled with

Defendants between late 2019 and early 2023 as a fundamental symptom of problem gambling.

106.   Defendants knew that Plaintiff was a problem gambler based on the amount of money he

deposited and gambled with them between late 2019 and early 2023.

107.   Plaintiff submitted at least tens of thousands of DFS entries with the Defendants between

late 2019 and early 2023.

108.   The frequency with which Plaintiff gambled with the Defendants between late 2019 and

early 2023 was a fundamental and visible symptom of problem gambling.

109.   At all times relevant, Defendants knew the frequency with which the Plaintiff was

gambling.

110.   Defendants were capable of recognizing, through training and/or experience, that the

frequency with which Plaintiff gambled between late 2019 and early 2023 was a fundamental

symptom of problem gambling.

111.   Defendants did, in fact, recognize that the frequency with which Plaintiff gambled

between late 2019 and early 2023 was a fundamental symptom of problem gambling.

112.   Defendants knew that Plaintiff was a problem gambler based on the frequency with

which he gambled between late 2019 and early 2023.

113.   “Chasing losses” is the act of increasing the amount of money bet or the number of bets

placed by a gambler in an effort to recoup prior losses.

114.   Plaintiff’s chasing of his losses with the Defendants between late 2019 and early 2023

was a fundamental and visible symptom of problem gambling.

115.   At all times relevant, Defendants knew that Plaintiff was chasing his losses with them to

return money to the same source from where it came.
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116.    Defendants were capable of recognizing, through training and/or experience, that

Plaintiff’s chasing of his losses with Defendants between late 2019 and early 2023 was a

fundamental symptom of problem gambling.

117.    Defendants did, in fact, recognize that Plaintiff’s chasing of his losses with Defendants

between late 2019 and early 2023 was a fundamental symptom of problem gambling.

118.    Defendants knew that Plaintiff was a problem gambler based on his chasing losses with

them between late 2019 and early 2023.

119.    The Plaintiff’s preoccupation with gambling, including but not limited to engaging in as

many as 100 text messages per day with his VIP host between late 2019 and early 2023 was a

fundamental and visible symptom of problem gambling.

120.    At all times relevant, Defendants were aware of Plaintiff’s preoccupation with gambling

through as many as 100 text messages per day with his VIP host between late 2019 and early

2023.

121.    Krause moved certain of his text messages with Plaintiff to Krause’s personal cell phone

to avoid detection by FanDuel’s compliance personnel, while instructing Plaintiff to fabricate

additional back-and-forth dialogue on his FanDuel phone to make sure it appeared to FanDuel

that their communication remained frequent.

122.    Defendants were capable of recognizing, through training and/or experience, that

Plaintiff’s preoccupation with gambling was a fundamental symptom of problem gambling.

123.    Defendants did, in fact, recognize that Plaintiff’s preoccupation with gambling between

late 2019 and early 2023 was a fundamental symptom of problem gambling.

124.    The Plaintiff’s use of suspicious funds to gamble was a fundamental and visible symptom

of problem gambling.
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125.      Defendants knew and/or took intentional steps to avoid knowing that Plaintiff was

stealing funds with which to gamble.

126.      Defendants were capable of recognizing, through training and/or experience, that

Plaintiff’s stealing of funds with which to gamble was a fundamental symptom of problem

gambling.

127.      Defendants did, in fact, recognize that Plaintiff’s stealing of funds with which to gamble

was a fundamental symptom of problem gambling.

128.      A “cooling-off” period whereby a gambler takes a break from gambling is a recognized

and fundamental way to help a problem gambler with his or her addiction.

129.      Defendants knew that a cooling-off period away from gambling was a recognized and

fundamental way to help a problem gambler with his or her addiction.

130.      Krause’s job with Defendants included preventing VIP players from taking any cooling-

off period.

131.      Defendants rewarded Krause for preventing VIP players from taking any cooling-off

period.

132.      Krause’s job included maximizing the amount of money VIP gamblers gambled with

Defendants.

133.      Krause’s job included maximizing the amount of money Plaintiff gambled with

Defendants.

134.      Krause’s job included the development of a quasi-personal relationship with gamblers so

that they felt comfortable with and trusted him, allowing Krause to manipulate Plaintiff and other

addicted gamblers.
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135.    Krause’s job included the development of a quasi-personal relationship with the Plaintiff

so that Plaintiff felt comfortable with and trusted him.



                  CHRONOLOGY OF FANDUEL CREDIT ENTICEMENTS

136.    Between late 2019 and early 2023, Defendants actively and relentlessly enticed the

Plaintiff, whom they knew to be addicted to gambling, to ensure that he continue to deposit and

gamble on its site in massive amounts and frequency.

137.    These enticements included, but were not limited to, a total of well over $1,000,000 in

FanDuel credits intended to keep Plaintiff depositing and gambling in massive amounts and

frequency.

138.    Such enticement included, but was not limited to, a $12,720 FanDuel credit on February

21, 2021.

139.    Such enticement included, but was not limited to, a $25,000 FanDuel credit on March 1,

2021.

140.    Such enticement included, but was not limited to, a $6,291 FanDuel credit on April 4,

2021, followed by a $6,460 and then a $4,342 FanDuel credit on the same day.

141.    Such enticement included, but was not limited to, a $2,500 FanDuel credit on April 10,

2021.

142.    Such enticement included, but was not limited to, a $20 FanDuel credit on April 12,

2021, followed by a $500 and then a $1,023 FanDuel credit on the same day.

143.    Such enticement included, but was not limited to, a $2,500 FanDuel credit on April 14,

2021.
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144.    Such enticement included, but was not limited to, a $7,500 FanDuel credit on April 15,

2021.

145.    Such enticement included, but was not limited to, a $10,000 FanDuel credit on April 18,

2021.

146.    Such enticement included, but was not limited to, a $620 FanDuel credit on April 20,

2021.

147.    Such enticement included, but was not limited to, a $1,000 FanDuel credit on April 24,

2021.

148.    Such enticement included, but was not limited to, a $20,000 FanDuel credit on April 25,

2021.

149.    Such enticement included, but was not limited to, a $3,600 FanDuel credit on May 5,

2021.

150.    Such enticement included, but was not limited to, a $900 FanDuel credit on May 12,

2021.

151.    Such enticement included, but was not limited to, a $544 FanDuel credit on May 17,

2021, followed by a $19,000 FanDuel credit on the same day.

152.    Such enticement included, but was not limited to, a $10,000 FanDuel credit on June 1,

2021, followed by a $27,000 gambling credit on the same day.

153.    Such enticement included, but was not limited to, a $3,271 FanDuel credit on June 4,

2021.

154.    Such enticement included, but was not limited to, a $10,000 FanDuel credit on June 10,

2021.
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155.    Such enticement included, but was not limited to, a $2,200 FanDuel credit on June 21,

2021, followed by a $20,000 FanDuel credit on the same day.

156.    Such enticement included, but was not limited to, a $9,000 FanDuel credit on June 25,

2021.

157.    Such enticement included, but was not limited to, a $15,000 FanDuel credit on July 1,

2021.

158.    Such enticement included, but was not limited to, a $20,000 FanDuel credit on July 19,

2021.

159.    Such enticement included, but was not limited to, a $5,000 FanDuel credit on July 27,

2021, followed by a $20,000 FanDuel credit on the same day.

160.    Such enticement included, but was not limited to, a $15,000 FanDuel credit on August 4,

2021.

161.    Such enticement included, but was not limited to, a $25,200 FanDuel credit on August

10, 2021.

162.    Such enticement included, but was not limited to, a $15,000 FanDuel credit on August

12, 2021.

163.    Such enticement included, but was not limited to, a $20,000 FanDuel credit on August

20, 2021.

164.    Such enticement included, but was not limited to, a $5,000 FanDuel credit on September

6, 2021.

165.    Such enticement included, but was not limited to, a $500 FanDuel credit on September 8,

2021.
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166.    Such enticement included, but was not limited to, a $500 FanDuel credit on September 8,

2021.

167.    Such enticement included, but was not limited to, a $1,000 FanDuel credit on October 25,

2021.

168.    Such enticement included, but was not limited to, a $2,500 FanDuel credit on October 19,

2021.

169.    Such enticement included, but was not limited to, a $7,500 FanDuel credit on October 23,

2021.

170.    Such enticement included, but was not limited to, a $5,000 FanDuel credit on October 26,

2021.

171.    Such enticement included, but was not limited to, a $5,000 FanDuel credit on October 26,

2021.

172.    Such enticement included, but was not limited to, a $10,600 FanDuel credit on November

1, 2021.

173.    Such enticement included, but was not limited to, a $2,500 FanDuel credit on November

3, 2021.

174.    Such enticement included, but was not limited to, a $2,500 FanDuel credit on November

5, 2021.

175.    Such enticement included, but was not limited to, a $5,000 FanDuel credit on November

26, 2021.

176.    Such enticement included, but was not limited to, a $7,500 FanDuel credit on November

27, 2021.
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177.   Such enticement included, but was not limited to, a $5,000 FanDuel credit on November

29, 2021.

178.   Such enticement included, but was not limited to, a $5,000 FanDuel credit on December

5, 2021.

179.   Such enticement included, but was not limited to, a $5,000 FanDuel credit on December

6, 2021.

180.   Such enticement included, but was not limited to, a $5,000 FanDuel credit on December

13, 2021.

181.   Such enticement included, but was not limited to, a $22,500 FanDuel credit on December

14, 2021.

182.   Such enticement included, but was not limited to, a $10,000 FanDuel credit on December

17, 2021.

183.   Such enticement included, but was not limited to, a $264 FanDuel credit on December

20, 2021, followed by a $5,036 FanDuel credit on the same day.

184.   Such enticement included, but was not limited to, a $10,000 FanDuel credit on December

21, 2021.

185.   Such enticement included, but was not limited to, a $5,000 FanDuel credit on December

25, 2021.

186.   Such enticement included, but was not limited to, a $3,200 FanDuel credit on December

28, 2021.

187.   Such enticement included, but was not limited to, a $5,000 FanDuel credit on December

29, 2021.
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188.    Such enticement included, but was not limited to, a $7,500 FanDuel credit on January 2,

2022.

189.    Such enticement included, but was not limited to, a $15,000 FanDuel credit on January

17, 2022.

190.    Such enticement included, but was not limited to, a $10,500 FanDuel credit on January

23, 2022.

191.    Such enticement included, but was not limited to, a $10,000 FanDuel credit on January

30, 2022.

192.    Such enticement included, but was not limited to, a $2,380 FanDuel credit on February 8,

2022, followed by a $4,500 gambling credit on that same day.

193.    Such enticement included, but was not limited to, a $2,500 FanDuel credit on February

24, 2022.

194.    Such enticement included, but was not limited to, a $2,650 FanDuel credit on February

12, 2022.

195.    Such enticement included, but was not limited to, a $2,500 FanDuel credit on February

19, 2022.

196.    Such enticement included, but was not limited to, a $2,500 FanDuel credit on February

22, 2022.

197.    Such enticement included, but was not limited to, a $2,500 FanDuel credit on February

24, 2022.

198.    Such enticement included, but was not limited to, a $5,000 FanDuel credit on March 3,

2022.
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199.    Such enticement included, but was not limited to, a $5,000 FanDuel credit on March 16,

2022.

200.    Such enticement included, but was not limited to, a $5,000 FanDuel credit on March 20,

2022.

201.    Such enticement included, but was not limited to, a $530 FanDuel credit on March 21,

2022.

202.    Such enticement included, but was not limited to, a $5,000 FanDuel credit on March 22,

2022.

203.    Such enticement included, but was not limited to, a $2,000 FanDuel credit on March 30,

2022.

204.    Such enticement included, but was not limited to, a $500 FanDuel credit on April 11,

2022, followed by a second $500 FanDuel credit on the same date.

205.    Such enticement included, but was not limited to, a $4,000 FanDuel credit on May 2,

2022.

206.    Such enticement included, but was not limited to, an $800 FanDuel credit on May 10,

2022.

207.    Such enticement included, but was not limited to, a $15,000 FanDuel credit on May 13,

2022.

208.    Such enticement included, but was not limited to, a $1,350 FanDuel credit on May 16,

2022.

209.    Such enticement included, but was not limited to, a $13,350 FanDuel credit on May 23,

2022.
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210.    Such enticement included, but was not limited to, a $15,000 FanDuel credit on May 24,

2022.

211.    Such enticement included, but was not limited to, a $42,000 FanDuel credit on June 6,

2022.

212.    Such enticement included, but was not limited to, a $30,000 FanDuel credit on June 7,

2022.

213.    Such enticement included, but was not limited to, a $33,750 FanDuel credit on June 17,

2022

214.    Such enticement included, but was not limited to, a $15,000 FanDuel credit on June 19,

2022.

215.    Such enticement included, but was not limited to, a $50,000 FanDuel credit on July 3,

2022.

216.    Such enticement included, but was not limited to, a $4,800 FanDuel credit on July 14,

2022.

217.    Such enticement included, but was not limited to, a $25,000 FanDuel credit on August 1,

2022, followed by a $10,000 FanDuel credit on that same date.

218.    Such enticement included, but was not limited to, a $10,000 FanDuel credit on August 2,

2022.

219.    Such enticement included, but was not limited to, a $10,000 FanDuel credit on August

17, 2022.

220.    Such enticement included, but was not limited to, a $5,900 FanDuel credit on August 30,

2022.
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221.    Such enticement included, but was not limited to, a $2,500 FanDuel credit on September

1, 2022.

222.    Such enticement included, but was not limited to, a $25,000 FanDuel credit on September

8, 2022.

223.    Such enticement included, but was not limited to, a $7,500 FanDuel credit on September

12, 2022.

224.    Such enticement included, but was not limited to, a $25,000 FanDuel credit on September

13, 2022.

225.    Such enticement included, but was not limited to, a $10,000 FanDuel credit on September

14, 2022.

226.    Such enticement included, but was not limited to, a $25,000 FanDuel credit on October 3,

2022.

227.    Such enticement included, but was not limited to, a $25,000 FanDuel credit on October 7,

2022.

228.    Such enticement included, but was not limited to, a $10,000 FanDuel credit on October

10, 2022.

229.    Such enticement included, but was not limited to, a $25,000 FanDuel credit on November

6, 2022.

230.    Such enticement included, but was not limited to, a $10,000 FanDuel credit on November

8, 2022.

231.    Such enticement included, but was not limited to, a $10,000 FanDuel credit on November

10, 2022.
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232.    Such enticement included, but was not limited to, a $10,000 FanDuel credit on November

12, 2022.

233.    Such enticement included, but was not limited to, a $5,000 FanDuel credit on November

14, 2022.

234.    Such enticement included, but was not limited to, a $25,000 FanDuel credit on December

1, 2022.

235.    Such enticement included, but was not limited to, a $10,000 FanDuel credit on December

3, 2022.

236.    Such enticement included, but was not limited to, a $10,000 FanDuel credit on December

4, 2022.

236.    Such enticement included, but was not limited to, a $10,000 FanDuel credit on December

5, 2022.

237.    Such enticement included, but was not limited to, a $10,000 FanDuel credit on December

6, 2022.

238.    Such enticement included, but was not limited to, a $10,000 FanDuel credit on January 6,

2023.

239.    Such enticement included, but was not limited to, a $10,000 FanDuel credit on January

11, 2023.

240.    Such enticement included, but was not limited to, a $10,000 FanDuel credit on January

12, 2023.

241.    Such enticement included, but was not limited to, a $10,000 FanDuel credit on January

14, 2023.
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242.   Such enticement included, but was not limited to, a $10,000 FanDuel credit on January

16, 2023.

243.   These FanDuel credits were given by the Defendants for the purpose of enticing the

Plaintiff to continue to deposit and gamble in massive amounts and frequency, despite knowing

he exhibited hallmark symptoms of being, and was in fact, an addicted gambler.

244.   On multiple occasions Defendants, through Krauss, instructed Plaintiff on ways to

circumvent Defendants’ own program by instructing him to gamble the FanDuel credit in his

account instead of withdrawing it to avoid suspicion.

245.   The Defendants’ creation, nurturing, expediting, and/or exacerbation of the Plaintiff’s

gambling addiction was the proximate cause, in whole or in part, of damages to the Plaintiff

including, but not necessarily limited to pecuniary losses in an amount to be determined at trial,

inclusive of: a) monies lost, b) severe emotional distress resulting from Plaintiff’s addiction,

anticipation of punishment, and imprisonment, c) repayment of stolen funds paid and owed,

inclusive of any penalties and interest, and d) the complete devastation of the Plaintiff’s

professional, personal, and financial life.



                                      FIRST COUNT
    Violation of the Florida Deceptive and Unfair Trade Practices Act, § 501.201, et seq.
                                (As Against All Defendants)

246.   Plaintiff hereby incorporates and restates the allegations contained in all previous

paragraphs as if set forth again at full length herein.

247.   At all relevant times, the Plaintiff was an “interested party or person” as that term is

defined by § 501.203(6) of the Florida Deceptive and Unfair Trade Practices Act.
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248.   At all relevant times, the Plaintiff was a “consumer” as that term is defined by §

501.203(7) of the Florida Deceptive and Unfair Trade Practices Act.

249.   At all relevant times, Defendants were engaged in “trade or commerce” as that term is

defined by § 501.203(8) of the Florida Deceptive and Unfair Trade Practices Act.

250.   The transactions described in this Complaint constituted “trade or commerce” as that

term is defined by § 501.203(8) of the Florida Deceptive and Unfair Trade Practices Act.

251.   The Defendants’ active and relentless enticements of the Plaintiff to continue depositing

money to gamble on its platform when they knew he exhibited fundamental signs of gambling

addiction was an unconscionable act or practice and/or unfair or deceptive act or practice in the

conduct of trade or commerce under § 501.204(1) of the Florida Deceptive and Unfair Trade

Practices Act.

252. The Defendants’ provision of gifts to the Plaintiff which defendants knew would have the

effect of creating, nurturing, expediting, and/or exacerbating the Plaintiff’s gambling addiction

was an unconscionable act or practice and/or unfair or deceptive act or practice in the conduct of

trade or commerce under § 501.204(1) of the Florida Deceptive and Unfair Trade Practices Act.

253.   The Defendants’ circumvention of its own Program, KYC, AML, and CDD requirements

and guidelines to ensure Plaintiff continue depositing money to gamble on its platform when

they knew he exhibited fundamental signs of gambling addiction was an unconscionable act or

practice and/or unfair or deceptive act or practice in the conduct of trade or commerce under §

501.204(1) of the Florida Deceptive and Unfair Trade Practices Act.

254.   The Defendants’ acceptance of suspected collusion between players in DFS games

involving the Plaintiff, through which Plaintiff lost millions of dollars, to ensure Plaintiff

continue depositing money to gamble on its platform when they knew he exhibited fundamental
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signs of gambling addiction was an unconscionable act or practice and/or unfair or deceptive act

or practice in the conduct of trade or commerce under § 501.204(1) of the Florida Deceptive and

Unfair Trade Practices Act.

255.   As a result of the Defendants’ misconduct, the Plaintiff suffered ascertainable loss.

256.   The Plaintiff brings this action pursuant to the Florida Deceptive and Unfair Trade

Practices Act and, in accordance therewith, is entitled to actual compensatory damages in an

amount to be determined at the time of trial, plus attorney fees, and court costs.

       WHEREFORE, the Plaintiff demands Judgment against Defendants in the amount of

$250,000,000 for: a) compensatory damages, b) together with interest, d) reasonable attorney’s

fees and costs of suit, and e) for such further relief as this Court deems just and equitable.



                                        SECOND COUNT
                                           Negligence
                                    (As Against all Defendants)


257.   Plaintiff hereby incorporates and restates the allegations contained in all previous

paragraphs as if set forth again at full length herein.

258.   The Defendants owed Plaintiff a duty of care.

259.   Defendants breached their duty of care to Plaintiff by making ongoing inducements to

gamble while Defendants knew or should have known that the Plaintiff was a compulsive

gambler.

260.   Defendants breached their duty of care to the Plaintiff by initiating a long series of

enticements to gamble which Defendants knew or should have known would have the effect of

creating, nurturing, expediting, and/or exacerbating the Plaintiff’s gambling addiction, and by
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enticing Plaintiff to participate in DFS contests which it knew or should have known was subject

to collusion.

261.    The Defendants’ breach(s) of its duty of care was the actual and proximate cause of the

Plaintiff’s damages, in whole or in part.

        WHEREFORE, the Plaintiff demands judgment against the Defendants in the amount of

$250,000,000 for: a) compensatory damages and b) punitive damages, together with c) interest,

costs of suit, and such further and other relief as this Court deems just and equitable.


                                        THIRD COUNT
                           Intentional Infliction of Emotional Distress
                                  (As Against All Defendants)

262.    Plaintiff hereby incorporates and restates the allegations contained in all previous

paragraphs as if set forth again at full length herein.

263.    The conduct of the Defendants as described herein was intentional and reckless.

264.    The conduct of the Defendants as described herein was outrageous, and goes beyond all

bounds of decency and is intolerable in a civilized community.

265.    The conduct of the Defendants, in whole or in part, caused the Plaintiff to suffer severe

emotional distress.

266.    The Plaintiff’s severe emotional distress was the foreseeable result of the Defendants’

acts.

        WHEREFORE, the Plaintiff demands judgment against the Defendants in the amount of

$250,000,000 for: a) compensatory damages, b) punitive damages, together with c) interest, costs

of suit, and such further and other relief as this Court deems just and equitable.
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                                       FOURTH COUNT
                                   Conspiracy to Commit Tort
                                   (As Against All Defendants)

267.     Plaintiff hereby incorporates and restates the allegations contained in all previous

paragraphs as if set forth again at full length herein.

268.     The conduct of the Defendants as described herein was tortious.

269.     There was an agreement between two or more parties to provide Plaintiff with

enticements to deposit and gamble when they knew he exhibited fundamental signs of gambling

addiction.

270.     Overt acts were taken in furtherance of this agreement in the form of, and among other

things, all-expense paid trips and the relentless gambling credit enticements described herein.

271.     There was an agreement between two or more parties to circumvent its own Program,

KYC, AML, and CDD requirements and guidelines to ensure Plaintiff begin and continue

depositing money to gamble on its platform when they knew he exhibited fundamental signs of

gambling addiction.

272.     Overt acts were taken in furtherance of this agreement in the form of, and among other

things, Defendants’ manipulation of its requirement for a verification of Plaintiff’s source of

funds.

273.     Defendants conspired to breach their duty of care to the Plaintiff by initiating a long

series of enticements to gamble which Defendants knew or should have known would have the

effect of creating, nurturing, expediting, and/or exacerbating the Plaintiff’s gambling addiction,

and by enticing Plaintiff to participate in DFS contests which it knew or should have known was

subject to collusion.
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274.    The conduct of the Defendants, in whole or in part, caused the Plaintiff’s damages

including, but not limited to: a) monies lost, b) severe emotional distress resulting from

Plaintiff’s addiction, anticipation of punishment, and imprisonment, c) repayment of stolen funds

paid and owed, inclusive of any penalties and interest, and d) the complete devastation of the

Plaintiff’s professional, personal, and financial life.

        WHEREFORE, the Plaintiff demands judgment against the Defendants in the amount of

$250,000,000 for: a) compensatory damages, b) punitive damages, together with c) interest, costs

of suit, and such further and other relief as this Court deems just and equitable.



Dated: October 1, 2024

LITT LAW, LLC




________________________
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